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       Via ECF and Courtesy Copy                                                       November 10, 2022

      Judge Raymond J. Dearie
      United States District Court for the
         Eastern District of New York
      225 Cadman Plaza East
      Brooklyn, N.Y. 11202

                RE: Donald J. Trump v. United States of America, Case No. 22-cv-81294-
                    CANNON

      Dear Judge Dearie:

              On November 7, 2022, Your Honor issued a Scheduling Order announcing your
      intent to contact the National Archives and Records Administration (“NARA”) regarding
      its practices and guidance documents concerning the categorization of materials under the
      Presidential Records Act. ECF 164. One way to read the Order is that it contemplates an
      ex parte or in camera contact with a NARA representative. Plaintiff, President Donald J.
      Trump, through the undersigned counsel, files this letter respectfully objecting to a private
      contact between the Special Master and NARA. However, Plaintiff does not object to a
      process that allows full transparency and participation by the parties.

              Canon 3(A)(4) of the Code of Conduct for United States Judges states that a federal
      judge “should not initiate, permit, or consider ex parte communications or consider other
      communications concerning a pending or impending matter that are made outside the
      presence of the parties or their lawyers.”1 This Canon is an extension of the widely accepted
      principle that the judicial system relies upon vigorous advocacy amongst the parties, rather
      than inquisitorial research by the presiding judicial officer.2

            Generally, judicial officers are expected to refrain from relying on information that
      was obtained through their own independent factual research and conducted outside the

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        See also Model Code of Jud. Conduct r. 2.9(A) (Am. Bar Ass’n 2020); Fed. R. Evid. 201(e) (“[A] party is
      entitled to be heard on the propriety of taking judicial notice and the nature of the fact to be noticed.”).
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        See, e.g., Am. Bar Ass’n Formal Op. 478 (Dec. 8, 2017) (“Except for evidence properly subject to judicial
      notice, a defining feature of the judge’s role in an adversarial system is that the judge will ‘consider only
      the evidence presented by the parties.’” (quoting Charles G. Geyh & W. William Hodes, REPORTERS’
      NOTES TO THE MODEL CODE OF JUDICIAL CONDUCT 40 (2009))).
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      presence of parties to the litigation. Johnson v. United States, 780 F.2d 901, 910 (11th Cir.
      1986) (noting that a trial judge may not “undertake an independent mission of finding
      facts” outside the record). Although judicial officers are not expected to remain completely
      insulated from factual information that is available outside the four walls of a courtroom,
      they must “observe proper limitations on judicial research.” Rowe v. Gibson, 798 F.3d 622,
      628 (7th Cir. 2015). Allowing a judicial officer to conduct unrestricted independent
      research, and to subsequently rely upon that research in rendering decisions, would
      implicate issues of fundamental fairness. See Campbell v. Sec. of Health and Human Servs.,
      69 Fed. Cl. 775, 776-77, 781-82 (2006) (finding that a special master’s introduction of
      medical articles obtained from the internet into the record, without the opportunity for a
      hearing, created an “extraordinary risk that [could not] be squared with the Special
      Master’s responsibility for conducting a proceeding consistent with the principles of
      fundamental fairness”).

              Indeed, the Seventh Circuit has recognized that there is a difference between mere
      “web searches for facts or other information that judges can properly take judicial notice
      of,” and “web searches for facts normally determined by the factfinder after an adversary
      procedure that produces a district court or administrative record.” Rowe, 798 F.3d at 628.
      Thus, while the Court may undertake independent research of issues that are judicially
      noticeable, it should refrain from independently investigating matters of dispute amongst
      the parties. Further, the Court should refrain from conducting such research off the record.
      A similar principle is recognized in the context of arbitration, where courts have found that
      an arbitrator’s ex parte research may serve as grounds to vacate an arbitration award. Airgas
      West, Inc. v. Hawaii Teamsters and Allied Workers, Local 996, No. 12-cv-00454, 2013
      WL 1856076, at *7 (D. Haw. April 20, 2013) (quoting Pac. Reins. Mgmt. Corp. v. Ohio
      Reins. Corp., 935 F.2d 1019, 1025 (9th Cir. 1991) (“Ex parte evidence to an arbitration
      panel that disadvantages any of the parties in their rights to submit and rebut evidence
      violates the parties’ rights and is ground for vacation of an arbitration award.”)).

              Under the same logic, judicial officers should avoid ex parte communications with
      individuals providing specialized, expert information within the litigation. See United
      States v. Craven, 239 F.3d 91, 102 (1st Cir. 2001) (noting that a judicial officer’s “ex parte
      contacts can create situations pregnant with problematic possibilities”). In Craven, the First
      Circuit reviewed a district court judge’s reliance on information obtained through an ex
      parte conversation with a court-appointed expert with respect to sentencing. Id. at 95. The
      Government appealed the sentence, arguing that (1) the parties were not privy to the court’s
      discussion with the expert and (2) the substance of the ex parte conversation was not placed




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      on the record. Id. at 101. In reviewing the sentencing court’s behavior, the First Circuit
      relied on the general principle that “the law frowns upon ex parte communications between
      judges and court-appointed experts.” Id. at 102. According to the First Circuit, “[t]he reason
      is obvious: most ex parte contacts between a trial judge and another participant in the
      proceedings risk harm, and ex parte communications with key witnesses (such as court-
      appointed experts) are no exception.” Id. Based on these findings, the Court concluded that
      the district court’s ex parte conversation impermissibly “taint[ed] the factual basis” relied
      upon in its sentencing decision. Id.

              With these principles in mind, Plaintiff respectfully contends that the Special
      Master should avoid engaging in an ex parte contact or otherwise conducting private
      interviews in this matter. Further, as noted during the initial Status Conference, the Plaintiff
      has deep concerns regarding the political bias of NARA leadership. Accordingly, we must
      object to any contact with NARA that does not allow for the full participation of the parties.

              Plaintiff suggests that a suitable alternative to an in-camera conversation with an
      interested party would be to call a NARA representative to appear at the December 1 status
      conference and provide sworn testimony to the Special Master and the parties. This would
      ensure that the record includes all information developed in such testimony, and it would
      also allow the parties to ask questions of the representative, akin to a deposition. Plaintiff’s
      proposed procedure would appropriately balance the Special Master’s need for information
      with the parties’ interest in testing the reliability and accuracy of that information.

             Thank you for your time and consideration of this matter.


                                                     Sincerely,




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